Case 1:18-cv-06696-MKB-SMG Document 12 Filed 03/25/19 Page 1 of 1 PageID #: 47



      T. Bryce Jones, Esq.
      Jones Law Firm, P.C.
      450 7th Avenue, Suite 1408
      New York, NY 10123                                                                         .
      (212) 258-0685
      bryce@joneslawnyc.com

      March 25, 2019
      Magistrate Judge Steven M. Gold
      United States District Court
      Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, NY 11201

             Re:     Naraine v. Automobile Workforce LLC,
                     1:18-cv-06696-MKB-SMG

      Dear Magistrate Judge Gold:

      This letter is to acknowledge that Defendant’s counsel received Plaintiff’s
      settlement offer dated March 7, 2019. On March 25, 2019, after discussing the
      Plaintiff’s settlement offer with our client, we attempted to reach out to opposing
      counsel to no avail.

      We believe that a week-long extension of time to negotiate a settlement prior to
      the Court making any determinations on mediation would be fruitful. We are still
      in the earliest stages of negotiations as Plaintiff’s offer was substantially similar to
      his demands in the Complaint.

                                                     Respectfully Submitted,


                                                     /s/ Bryce Jones_
                                                     T. Bryce Jones
                                                     Jones Law Firm, P.C.
                                                     450 7th Avenue, Suite 1408
                                                     New York, NY 10123
                                                     (212) 258-0685
                                                     bryce@joneslawnyc.com
                                                     Attorneys for Defendant




                                         www.joneslawnyc.com
